Case 2:03-CV-O2568-BBD-tmp Document 321 Filed 08/18/05 Page 1 of 3 Page|D 328

Fll.ED BY ,_, D.C.
IN THE UNITED STATES DISTRICT COURT

FOR 'I'HE WESTERN DISTRICT oF TENNEssEE h 51
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CLF.P¢§ U.S. {§STP!CT COUT
WID OF ?-.‘é_§€-.€f-‘rHS
cHARLENE sPINKs ,

Plaintiff,
vs.

Civo No¢ 03°'2568-sz

HOME TECH SERVICES CO., INC.,
et al.,

\,¢`.¢\,¢\_¢`_¢\_v\_¢\_¢\_¢\.¢`_¢

Defendants.

 

ORDER GRA.NTING DEFENDA.NTS I-IOME TECH SERVICES CO. , INC. ; MEMPHIS
FINANCIAL SERVICES, INC.; AND WORLDWIDE MORTGAGE CORPORATION'S
MOTION FOR PROTECTIVE ORDER

 

Before the Court is Defendants Home Tech Services Co. Inc.;
Memphis Financial Services, Inc.; and Worldwide Mortgage
Corporation's Motion for Protective Order, filed February 17, 2005
(dkt #233). For good cause shown and no opposition thereto,

defendant's motion for a protective order is hereby GRANTED.

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TU M. PHAM
United States Magistrate Judge

P\vc,u.+ \¥§ 1305

Date l

IT IS SO ORDERED.

Th|s document entered on the docket sheet In compliance

with Flu|e 58 and/or 79(a) FHCP on 8 ' 19 "QQ 32/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 321 in
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Honorable Bernice Donald
US DISTRICT COURT

